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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                     )
DEVELOPMENT, INC.,                   )
                                     )
            Plaintiff,               )
                                     ) No.
    v.                               )
                                     )
MARIO SCORZA,                        )
                                     )
            Defendant.               )

                               Exhibit 7

                   March 17, 2023 Award of Arbitrator
               Case 2:23-cv-00644-MJH Document 1-8 Filed 04/19/23 Page 2 of 2




                                 AMERICAN ARBITRATION ASSOCIATION
                                     Commercial Arbitration Tribunal

 In the Matter of the Arbitration between

 Case Number: 01-21-0004-6369


 -vs-
 Davison Design & Development, Inc.

                                            AWARD OF ARBITRATOR

 I, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the arbitration agreement
 entered into between the above-named parties and dated March 23, 2017, and having been duly sworn, and having
 duly heard the proofs and allegations of the Parties, with Claimant represented by Stacey Barnes of Kearney,
 McWilliams & Davis, PLLC, and Respondent represented by Justin Barron of Barron Law Office LLC, hereby
 AWARD as follows:

        For Claimant, Mario Scorza, and against Respondent, Davison Design & Development, Inc., in the
        principal amount of $20,042.25 with $6,012.60 in interest plus an award of reasonable attorney
        fees and costs pursuant to the American Inventors Protection Act and the Texas Invention
        Development Services Act in the amount of $199,024.05 for a total award of $225,078.90.

 In addition to the above award, the administrative fees of the American Arbitration Association totaling $18,425.00
 shall be borne exclusively by Respondent, and the compensation of the Arbitrator totaling $30,528.00 shall be borne
 exclusively by Respondent. Therefore, Respondent shall reimburse to Claimant the sum of $32,564.00, representing
 that portion of said fees in excess of the apportioned costs previously incurred by Claimant.

 The above sums are to be paid on or before 20 days from the date of this Award.


 denied.

 This Award is in full settlement of all claims and counterclaims submitted in this Arbitration. All claims not
 expressly granted herein are hereby, denied.


  3/27/2023
 _______________________                          _____________________________________
 Date                                             Scott David Livingston, Arbitrator


 I, Scott David Livingston, do hereby affirm upon my oath as Arbitrator that I am the individual described in and
 who executed this instrument which is my Award.


  3/27/2023
 _______________________                          _____________________________________
 Date                                             Scott David Livingston




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